











Opinion issued December 30, 2004












In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-03-00382-CR
____________

JESUS RODRIGUEZ, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 179th District Court
Harris County, Texas
Trial Court Cause No. 876312



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A jury convicted appellant, Jesus Rodriguez, of the offense of assault on a
public servant.  Appellant pleaded true to the allegations in two enhancement
paragraphs that he had two prior felony convictions. The trial court assessed
punishment at confinement for 30 years.  We affirm.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s court-appointed counsel filed a motion to withdraw as counsel
and a brief concluding that this appeal is without merit.  Counsel’s brief meets the
requirements of Anders v. California, 386 U.S. 738, 744, 87 S. Ct. 1396, 1400 (1967),
by presenting a professional evaluation of the record that demonstrates the lack of
arguable grounds of error.  See High v. State, 573 S.W.2d 807, 811 (Tex. Crim. App.
1978); Moore v. State, 845 S.W.2d 352, 353 (Tex. App.—Houston [1st Dist.] 1992,
pet. ref’d).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Counsel represents that he served a copy of the brief on appellant.  Counsel
also advised appellant of his right to examine the appellate record and file a pro se
brief.  See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).  More than
30 days have passed, and appellant has not filed a pro se brief.  We have carefully
reviewed the record and counsel’s brief.  We find no reversible error in the record,
and agree that the appeal is without merit.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We therefore affirm the judgment of the trial court.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We grant counsel’s motion to withdraw.


  See Stephens v. State, 35 S.W.3d
770, 771 (Tex. App.—Houston [1st Dist.] 2000, no pet.). 

PER CURIAM

Panel consists of Justices Taft, Jennings, and Bland.

Do not publish.  Tex. R. App. P. 47.2(b).


